       Case 2:20-cv-00359-MHT-SMD Document 9 Filed 06/30/20 Page 1 of 1



  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


JAMES GANN,                )
                           )
     Plaintiff,            )
                           )                       CIVIL ACTION NO.
     v.                    )                         2:20cv359-MHT
                           )                              (WO)
ROBERT M. HENLINE, et al., )
                           )
     Defendants.           )

                                    ORDER

       Upon      consideration      of      the     document    filed     by

plaintiff (doc. no. 7), in which he states that he

wishes      to    dismiss    this    case,        and   which   the   court

construes as a notice of voluntary dismissal pursuant

to Fed. R. Civ. P. 41(a)(1)(A)(i), it is ORDERED that

this     lawsuit     is   dismissed      in       its   entirety   without

prejudice, with no costs taxed.

       This case is closed.

       DONE, this the 30th day of June, 2020.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
